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                EXHIBIT 6




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Chief Judge Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001


Dear Chief Judge Howell,

My name is Katie Morgan. I am a licensed registered nurse. Heather Morgan has been a part of
my life for 25 years, since the day I was born. We have remained close and inseparable
throughout every change that life has brought about. Her mother Gale Morgan and my mother
Barbara Morgan were close childhood friends and still are. Heather and I grew up across the
street from each other, and although we have the same last name we are not technically
related. However, we have always called each other cousins, although we are more like sisters.
Heather made a point to show up to my ceremony of achievement for completion of my
Bachelors of Science in Nursing when most of my family did not. She is always there for me. We
speak almost everyday and see each other often. I know Heather perhaps better than anyone
and she is not a flight risk.

Heather cares about her family and friends more than anything in life. The home that her
parents have placed as collateral is her childhood home. Her parents have lived there for 25
years. There is no amount of money that can replace the sentimental value that it holds.
Heather would never jeopardize her family’s home nor abandon her friends. As an only child,
Heather has always placed a high value on her friends. She is loyal and would not risk never
being able to come home and see us again.

Furthermore, Heather and I have talked extensively about how excited she is to start her own
family. Heather has struggled with endometriosis, a condition which is known for causing fertility
issues and decreasing ovarian reserves. Her In vitro fertilization process was difficult and
painful. She is lucky to have the eggs stored that she has. These eggs may be her only chance
at conceiving a child of her own. Heather would never leave that behind.

Heather has traveled to many places and at times I have accompanied her. New York City,
though, is the city she loves and where she most feels at home. To risk everything she holds
dear is not a risk she would take.

These are the reasons I know Heather Morgan is not a flight risk.

Sincerely,




Katie Morgan
